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UNITED STATES COURT OF INTERNATIONAL TRADE

 

THE MEAD CORPORATION,

Plaintiff,
Court Nos. 95-12-01783;
Ve : 95-05-00643;
: 95-10-01334; and
UNITED STAPES, : 96-05-01301
Defendant. :

 

ORDER

Upon consideration of Plaintiff’s Motion To Designate A Test
Case And To Suspend Thereunder; defendant’s consent to such test
case designation and suspension; upon all other papers and
proceedings had herein; and upon due deliberation, it is hereby

ORDERED that Court No. 95-12-01783 be, and hereby is,
designated a test case; and it is further

ORDERED that Court Nos. 95-05-00643, 95-10-01334 and 96-05-
01301 are suspended under test case 95-12-01783; and it is further

ORDERED that the Clerk of this Court transfer Court Nos. 95-
05-00643, 95-10-01334 and 96-05-01301 to the appropriate suspension

calendar.

Dated: october 39, 1996 /S/ R. Kenton Musgrave
Senior Judge

pv
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NOTICE OF ENTRY AND SERVICE

This is a notice that an order or judgment was entered in the docket of this
action, and was served upon the parties on the date shown below.

Service was made by depositing a copy of this order or judgment, together
with any papers required by U.S.C.1.T. Rule 79(c), in a securely closed
envelope with proper postage affixed, ina United States mail receptacle at One
Federal Plaza, New York, New York 10278 and addressed to the attorney of
record for each party at the address on the official docket in this action, except
that service upon the United States was made by personally delivering a copy
to the Attorney-in-Charge, International Trade Field Office, Civil Division, United
States Department of Justice, 26 Federal Plaza, New York, New York 10278
or to a clerical employee designated, by the Attorney-in-Charge, in a writing
filed with the cierk of the court.

Raymond F. Burghardt
Clerk of the Court

   

Date: By:
